                                                                                                                                         1/12/14 10:04PM
B23 (Official Form 23) (12/13)
                                                                     United States Bankruptcy Court
                                                                        Eastern District of Michigan
 In re       James Randall Johnson                                                                          Case No.   13-23089
                                                                                       Debtor(s)            Chapter    7



            DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
                   COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT

This form should not be filed if an approved provider of a postpetition instructional course concerning personal
financial management has already notified the court of the debtor’s completion of the course. Otherwise, every
individual debtor in a chapter 7 or a chapter 13 case or in a chapter 11 case in which § 1141(d)(3) applies must
file this certification. If a joint petition is filed and this certification is required, each spouse must complete and
file a separate certification. Complete one of the following statements and file by the deadline stated below:
         n I, James Randall Johnson , the debtor in the above-styled case, hereby certify that on 1-72014 , I completed
an instructional course in personal financial management provided by GreenPath, Inc. , an approved personal financial
management provider.

             Certificate No. (if any):               01401-MIE-DE-022549976        .

        o I,       , the debtor in the above-styled case, hereby certify that no personal financial management course is
required because of [Check the appropriate box.]:
             o Incapacity or disability, as defined in 11 U.S.C.§ 109(h);
             o Active military duty in a military combat zone; or
             o Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise be
required to complete such courses.

 Signature of Debtor:                /s/ James Randall Johnson
                                     James Randall Johnson

 Date:        January 12, 2014




Instructions: Use this form only to certify whether you completed a course in personal financial management and only if
your course provider has not already notified the court of your completion of the course. (Fed. R. Bankr. P. 1007(b)(7).)
Do NOT use this form to file the certificate given to you by your prepetition credit counseling provider and do NOT include
with the petition when filing your case.
Filing Deadlines: In a chapter 7 case, file within 60 days of the first date set for the meeting of creditors under § 341 of
the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as required by the
plan or the filing of a motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Code. (See Fed. R. Bankr. P.
1007(c).)




Software Copyright (c) 1996-2013 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                        13-23089-dob                    Doc 16          Filed 01/12/14        Entered 01/12/14 22:12:17     Page 1 of 2
                                             Certificate Number: 01401-MIE-DE-022549976
                                             Bankruptcy Case Number: 13-23089


                                                           01401-MIE-DE-022549976




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on January 7, 2014, at 4:05 o'clock PM EST, James R Johnson
completed a course on personal financial management given by internet by
GreenPath, Inc., a provider approved pursuant to 11 U.S.C. § 111 to provide an
instructional course concerning personal financial management in the Eastern
District of Michigan.




Date:   January 7, 2014                      By:      /s/Jeremy Lark


                                             Name: Jeremy Lark


                                             Title:   FCC Manager




 13-23089-dob      Doc 16   Filed 01/12/14    Entered 01/12/14 22:12:17             Page 2 of 2
